      Case 1:14-cv-00158-SM Document 20 Filed 11/08/14 Page 1 of 2
                   UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW HAMPSHIRE


Robert Dee Burke

             v.
                                             Case No. 14-cv-158-SM
NH State Prison, Warden, et al.


                              O R D E R


    After due consideration of the objection filed, I herewith

approve the Report and Recommendation of Magistrate Judge Andrea

K. Johnstone dated October 24, 2014, for the reasons set forth

therein.

    Plaintiff’s claims asserted in Document Nos. 1, 10, 13 and

14, against the New Hampshire defendants are hereby dismissed

for failure to state a claim.     Defendants New Hampshire State

Prison Warden Richard Gerry, NHDOC Classifications Counselor Kim

Lacasse, and the NHDOC Health Services Administrator are hereby

dismissed from this case.

    The Clerk shall transfer the case, including any claims

asserted against the Connecticut defendants, to the District of

Connecticut, Hartford Division.     The Clerk shall also enter

judgment in accordance with this Order and close the case.


    SO ORDERED.

                                      ____________________________
                                      Steven J. McAuliffe
                                      United States District Judge


Date: November 8, 2014
       Case 1:14-cv-00158-SM Document 20 Filed 11/08/14 Page 2 of 2
cc:   Robert Dee Burke, pro se
